                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

MEMPHIS A. PHILLIP RANDOLPH                          )
INSTITUTE, THE EQUITY ALLIANCE,                      )
FREE HEARTS, THE MEMPHIS AND                         )
WEST TENNESSEE AFL-CIO                               )
CENTRAL LABOR COUNCIL, THE                           )
TENNESSEE STATE CONFERENCE                           )
OF THE NAACP, SEKOU                                  )      Case No. 3:20-cv-00374
FRANKLIN, and KENDRA LEE,                            )      Judge Richardson
                                                     )      Magistrate Judge Frensley
                              Plaintiffs,            )
                                                     )
       v.                                            )
                                                     )
TRE HARGETT, in his official capacity                )
as Secretary of State of the State of                )
Tennessee, MARK GOINS, in his                        )
Official capacity as Coordinator of                  )
Elections for the State of Tennessee,                )
and AMY WEIRICH, in her official                     )
capacity as the District Attorney General            )
for Shelby County, Tennessee,                        )
                                                     )
                              Defendants.            )


                    DEFENDANTS’ MOTION TO STAY DISCOVERY


       The Attorney General, on behalf of the Defendants, moves this Court to stay discovery

pending resolution of the contemporaneously-filed Motion to Dismiss.

       Defendants’ Motion to Dismiss asserts that none of the Plaintiffs have standing to assert

their constitutional claims because the challenged statutes do not apply to them, because they have

suffered no injury-in-fact that is causally connected to the challenged statutes or any other state

action, and/or because they cannot satisfy the minimum requirements for organizational or

associational standing. As the Motion to Dismiss addresses the threshold issue of this Court’s




   Case 3:20-cv-00374 Document 63 Filed 08/10/20 Page 1 of 3 PageID #: 2353
subject matter jurisdiction, conducting discovery on the merits of the asserted claims would

needlessly increase the cost of this litigation for no purpose, especially when discovery would

“have no relevance to the dispositive legal issues in question.” See Hahn v. Star Bank, 190 F.3d

708, 719 (6th Cir. 1999).

       For these reasons, Defendants respectfully request that this Court stay discovery in this

matter pending resolution of the Motion to Dismiss pursuant to Fed. R. Civ. P. 26(c) and this

Court’s inherent power.

                                            Respectfully submitted,

                                            HERBERT H. SLATERY III
                                            Attorney General and Reporter

                                            /s/ Andrew B. Campbell
                                            JANET M. KLEINFELTER (BPR #13889)
                                            Deputy Attorney General
                                            Janet.kleinfelter@ag.tn.gov

                                            ANDREW B. CAMPBELL (BPR #14258)
                                            Senior Assistant Attorney General
                                            Andrew.campbell@ag.tn.gov

                                            ALEXANDER S. RIEGER (BPR 029362)
                                            Assistant Attorney General
                                            Alex.rieger@ag.tn.gov

                                            MATTHEW D. CLOUTIER (BPR 036710)
                                            Assistant Attorney General
                                            Matt.cloutier@ag.tn.gov

                                            Office of the Tennessee Attorney General
                                            Public Interest Division
                                            P.O. Box 20207
                                            Nashville, TN 37202
                                            (615) 741-7403

                                            Attorneys for Defendants



                                               2

   Case 3:20-cv-00374 Document 63 Filed 08/10/20 Page 2 of 3 PageID #: 2354
                                 CERTIFICATE OF SERVICE
        I hereby certify that a true and exact copy of the foregoing documents have been forwarded
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system
to the parties named below. Parties may access this filing through the Court’s electronic filing
system.


William L. Harbison                                            Danielle Lang
Lisa K. Helton                                                 Ravi Doshi
Christopher C. Sabis                                           Molly Danahy
Christina R.B. López                                           Jonathan Diaz
Sherrard, Roe, Voigt & Harbison, PLC                           Campaign Legal Center
150 3rd Avenue South, Suite 1100                               1101 14th Street NW, Suite 400
Nashville, TN 37201                                            Washington, DC 20005

Ezra Rosenberg
Pooja Chaudhuri
Jacob Conarck
Lawyers’ Committee for Civil Rights Under Law
1500 K Street NW, Suite 900
Washington, DC 20005


Date: August 10, 2020                                  /s/ Andrew B. Campbell
                                                       Andrew B. Campbell
                                                       Senior Assistant Attorney General




                                                  3

   Case 3:20-cv-00374 Document 63 Filed 08/10/20 Page 3 of 3 PageID #: 2355
